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                                                                  8/24/22

                                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                 SR
                                                          BY: ___________________ DEPUTY
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